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                                                                                                        E-FILED
                                                                          Sunday, 08 May, 2022 01:25:36 AM
                                                                              Clerk, U.S. District Court, ILCD

                           UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF ILLINOIS
                               SPRINGFIELD DIVISION

Lacie Davis, individually and on behalf of all                      3:22-cv-03071
others similarly situated,
                                  Plaintiff,

                    - against -                                Class Action Complaint

Ricola USA, Inc.,
                                                                Jury Trial Demanded
                                  Defendant

       Plaintiff alleges upon information and belief, except for allegations pertaining to Plaintiff,

which are based on personal knowledge:


       1.      Ricola USA, Inc. (“Defendant”) manufactures, labels, markets, and sells cough

suppressant and oral anesthetic lozenges “Made With Swiss Alpine Herbs” under the Ricola brand

(“Product”).
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       2.    The other representations include “Ricola,” “Original Herb Cough Drops,” “Great

Tasting,” “Effective Relief,” pictures of peppermint, elder, wild thyme, horehound, hyssop,

mallow, sage, linden flowers, lemon balm and thyme, and a picture of an amber lozenge.

I.    HERBAL PRODUCTS MARKET

       3.    The past thirty years has seen a steep increase in consumer consumption and usage

of products containing herbal extracts.

       4.    During this time, eighty percent of adults have used over-the-counter (“OTC”) drug

products containing herbal ingredients at some point for their healthcare needs over

pharmaceutical alternatives.

       5.    According to Mintel, the herbal remedies market is over $10 billion per year and

growing at over four percent per year.

       6.    Almost half of Americans report using herbal remedies in the prior twelve months.

       7.    Sixty-five percent of younger parents regularly select products with herbal

ingredients for themselves and their children.

       8.    This has caused the pharmaceutical industry to investigate more ways to use herbal

ingredients in OTC products.

       9.    Herbal ingredients are increasingly incorporated into OTC categories, including

external pain relieving rubs, cough suppressants, muscle relaxants, digestive aids, and oral care.

       10.   Herbal products are used by consumers to address the same issues traditional OTC

products are, including common colds, coughs, muscle soreness and aches, sleep issues, and stress.

II.   REASONS FOR INCREASE IN DEMAND FOR HERBAL PRODUCTS

       11.   The reasons for increased usage of herbal products are several.

       12.   First, numerous consumers are better able to tolerate products based on herbal



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ingredients than synthetic ones.

       13.     Second, the resurgence in popularity of alternative medicine systems like Ayurveda,

which rely heavily on herbal ingredients, has made consumers seek out products made with similar

ingredients.

       14.     Third, a growing number of consumers believe that the American medical and

pharmaceutical system overuse traditional medications and seek to reduce their usage of standard

prescriptions.

       15.     Fourth, many consumers believe that herbal ingredients are more potent and less

harmful than man-made ingredients.

       16.     The Coronavirus pandemic further increased consumer adoption of products

containing herbal ingredients as another layer of protection from this disease.

III. REPRESENTATIONS THAT EFFECTIVENESS                              IS   DUE     TO     HERBAL
     INGREDIENTS IS MISLEADING

       17.     Despite the front label representations including “Cough Suppressant,” “Oral

Anesthetic,” “Effective Relief,” “Made With Swiss Alpine Herbs,” and pictures of ten herbs, the

Product’s therapeutic effect is not provided by any of the herbs pictured on the front label.

       18.     This is shown through a review of the Drug Facts on the back label, which identify

menthol as the only active ingredient.




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                                                 Active Ingredient (in each drop)
                                                 Menthol, 4.8 mg




                                                 Inactive Ingredients            color
                                                 (caramel), extract of a Ricola herb
                                                 mixture (elder, horehound, hyssop,
                                                 lemon balm, linden flowers, mallow,
                                                 peppermint, sage, thyme, wild
                                                 thyme), natural flavor, starch syrup,
                                                 sugar

       19.      An active ingredient means any component intended to provide a pharmacological

or direct effect in the mitigation or treatment of any condition. 21 C.F.R. § 210.3(b)(7).

       20.      However, the herbs promoted on the front label are exclusively “Inactive

Ingredients.”

       21.      Inactive ingredients are defined as any component other than active ingredients. 21

C.F.R. § 210.3(b)(8).

       22.      Consumers seeing the Product’s front label will expect its cough suppressant and oral

anesthetic functionality will be provided by its herbal ingredients.

       23.      It is false, deceptive and misleading to claim or imply that the Product’s inactive

ingredients provide a therapeutic benefit.

       24.      Competitor products contain substantially similar ingredients to the Product.

       25.      However, only Defendant’s Product conveys the message that its herbal ingredients

are responsible for the cough suppressant and oral anesthetic properties it provides.


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       26.   Competitor herbal lozenges from Meijer, Target, Dollar General, and Walmart, do

not represent to consumers that their herbal ingredients are responsible for its therapeutic effects,

by disclosing the presence of menthol on their front labels, i.e., “4.8 mg Menthol Per Drop” and

“Menthol Cough Suppressant.”




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IV.   CONCLUSION

       27.   Defendant makes other representations and omissions with respect to the Product

which are false and misleading.

       28.   Reasonable consumers must and do rely on a company to honestly and lawfully

market and describe the components, attributes, and features of a product, relative to itself and

other comparable products or alternatives.

       29.   The value of the Product that Plaintiff purchased was materially less than its value

as represented by Defendant.

       30.   Defendant sold more of the Product and at higher prices than it would have in the

absence of this misconduct, resulting in additional profits at the expense of consumers.

       31.   Had Plaintiff and proposed class members known the truth, they would not have

bought the Product or would have paid less for it.

       32.   As a result of the false and misleading representations, the Product is sold at a

premium price, approximately no less than no less than $3.99 per 21 lozenges, excluding tax and

sales, higher than similar products, represented in a non-misleading way, and higher than it would

be sold for absent the misleading representations and omissions.

                                            Jurisdiction and Venue

       33.   Jurisdiction is proper pursuant to Class Action Fairness Act of 2005 (“CAFA”). 28

U.S.C. § 1332(d)(2).

       34.   The aggregate amount in controversy exceeds $5 million, including any statutory

damages, exclusive of interest and costs.

       35.   Plaintiff Lacie Davis is a citizen of Illinois.

       36.   Defendant Ricola USA, Inc. is a New Jersey corporation with a principal place of

business in Parsippany, Morris County, New Jersey.


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       37.   The class of persons Plaintiff seeks to represent includes persons who are citizens of

different states from which Defendant is a citizen

       38.   The members of the class Plaintiff seeks to represent are more than 100, because the

Product has been with the representations described here, in thousands of locations, in the states

covered by Plaintiff’s proposed classes.

       39.   The Product is available to consumers from grocery stores, dollar stores, warehouse

club stores, drug stores, convenience stores, big box stores, and online.

       40.   Venue is in the Springfield Division in this District because a substantial part of the

events or omissions giving rise to these claims occurred in Mason County, including Plaintiff’s

purchase, consumption, and/or use of the Product and awareness and/or experiences of and with

the issues described here.

                                              Parties

       41.   Plaintiff Lacie Davis is a citizen of Forest City, Mason, Illinois.

       42.   Defendant Ricola USA, Inc. is a New Jersey corporation with a principal place of

business in Parsippany, New Jersey, Morris County.

       43.   Ricola was founded almost a hundred years ago in the shadow of the Swiss Alps.

       44.   The original Ricola lozenge was a potent therapeutic combination of Swiss herbs that

was developed based on centuries of local knowledge, passed down orally through the rural

mountainside communities.

       45.   For many decades, the Ricola lozenges were able to provide therapeutic benefits

based on its unique blend of Swiss Alpine herbs.

       46.   In October 2021, Ricola revealed the results of its strategic review of its branding

and marketing.




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       47.    The result was the claim that its products are “Made With Swiss Alpine Herbs.”

       48.    The Product is available to consumers from grocery stores, dollar stores, warehouse

club stores, drug stores, convenience stores, big box stores, and online.

       49.    Plaintiff purchased the Product on one or more occasions within the statutes of

limitations for each cause of action alleged, at stores including Walmart, 3320 Veterans Dr, Pekin,

IL 61554, between February 3, 2022, and April 3, 2022, and/or among other times.

       50.    Plaintiff believed and expected the Product functioned as a cough suppressant and

oral anesthetic due to the presence of herbal ingredients because that is what the representations

and omissions said and implied, on the front label and the absence of any reference or statement

elsewhere on the Product.

       51.    Plaintiff seeks to purchase OTC and other products which contain herbal ingredients

that contribute to those products’ functionality.

       52.    Plaintiff relied on the words, terms coloring, descriptions, layout, placement,

packaging, tags, and/or images on the Product, on the labeling, statements, omissions, claims,

statements, and instructions, made by Defendant or at its directions, in digital, print and/or social

media, which accompanied the Product and separately, through in-store, digital, audio, and print

marketing.

       53.    Plaintiff bought the Product at or exceeding the above-referenced price.

       54.    Plaintiff would not have purchased the Product if she knew the representations and

omissions were false and misleading or would have paid less for it.

       55.    Plaintiff chose between Defendant’s Product and products represented similarly, but

which did not misrepresent their attributes, requirements, instructions, features, and/or

components.




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       56.     The Product was worth less than what Plaintiff paid and she would not have paid as

much absent Defendant's false and misleading statements and omissions.

       57.     Plaintiff intends to, seeks to, and will purchase the Product again when she can do so

with the assurance the Product's representations are consistent with its abilities, attributes, and/or

composition.

       58.     Plaintiff is unable to rely on the labeling and representations not only of this Product,

but other similar OTC and other products promoted as made with herbal ingredients, because she

is unsure whether those representations are truthful.

                                           Class Allegations

       59.     Plaintiff seeks certification under Fed. R. Civ. P. 23 of the following classes:

                        Illinois Class: All persons in the State of Illinois who
                        purchased the Product during the statutes of
                        limitations for each cause of action alleged; and

                        Consumer Fraud Multi-State Class: All persons in
                        the States of Iowa, Ohio, Montana, Virginia, New
                        Mexico, Arkansas, Maine, Wyoming, North Dakota
                        and Utah who purchased the Product during the
                        statutes of limitations for each cause of action
                        alleged.

       60.     Common questions of issues, law, and fact predominate and include whether

Defendant’s representations were and are misleading and if Plaintiff and class members are entitled

to damages.

       61.     Plaintiff's claims and basis for relief are typical to other members because all were

subjected to the same unfair, misleading, and deceptive representations, omissions, and actions.

       62.     Plaintiff is an adequate representative because her interests do not conflict with other

members.

       63.     No individual inquiry is necessary since the focus is only on Defendant’s practices



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and the class is definable and ascertainable.

       64.    Individual actions would risk inconsistent results, be repetitive and are impractical

to justify, as the claims are modest relative to the scope of the harm.

       65.    Plaintiff's counsel is competent and experienced in complex class action litigation

and intends to protect class members’ interests adequately and fairly.

       66.    Plaintiff seeks class-wide injunctive relief because the practices continue.

                  Illinois Consumer Fraud and Deceptive Business Practices Act
                                (“ICFA”), 815 ILCS 505/1, et seq.

                                  (Consumer Protection Statute)

       67.    Plaintiff incorporates by reference all preceding paragraphs.

       68.    Plaintiff believed the Product functioned as a cough suppressant and oral anesthetic

due to the presence of herbal ingredients.

       69.    Defendant’s false, misleading and deceptive representations and omissions are

material in that they are likely to influence consumer purchasing decisions.

       70.    Defendant misrepresented the Product through statements, omissions, ambiguities,

half-truths and/or actions.

       71.    Plaintiff relied on the representations and omissions to believe the Product

functioned as a cough suppressant and oral anesthetic due to the presence of herbal ingredients.

       72.    Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                              Violation of State Consumer Fraud Acts

                      (On Behalf of the Consumer Fraud Multi-State Class)


       73.    The Consumer Fraud Acts of the States in the Consumer Fraud Multi-State Class are




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similar to the consumer protection statute invoked by Plaintiff and prohibit the use of unfair or

deceptive business practices in the conduct of commerce.

       74.    The members of the Consumer Fraud Multi-State Class reserve their rights to assert

their consumer protection claims under the Consumer Fraud Acts of the States they represent

and/or the consumer protection statute invoked by Plaintiff.

       75.    Defendant intended that members of the Consumer Fraud Multi-State Class would

rely upon its deceptive conduct.

       76.    As a result of Defendant’s use of artifice, and unfair or deceptive acts or business

practices, the members of the Consumer Fraud Multi-State Class sustained damages.

       77.    Defendant’s conduct showed motive and a reckless disregard of the truth such that

an award of punitive damages is appropriate.

                                    Breaches of Express Warranty,
                Implied Warranty of Merchantability/Fitness for a Particular Purpose and
                       Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

       78.    The Product was manufactured, identified, marketed and sold by Defendant and

expressly and impliedly warranted to Plaintiff and class members that it functioned as a cough

suppressant and oral anesthetic due to the presence of herbal ingredients.

       79.    Defendant directly marketed the Product to Plaintiff and consumers through its

advertisements and marketing, through various forms of media, on the packaging, in print

circulars, direct mail, product descriptions distributed to resellers, and targeted digital advertising.

       80.    Defendant knew the product attributes that potential customers like Plaintiff were

seeking and developed its marketing and labeling to directly meet those needs and desires.

       81.    Defendant’s representations about the Product were conveyed in writing and

promised it would be defect-free, and Plaintiff understood this meant that it functioned as a cough

suppressant and oral anesthetic due to the presence of herbal ingredients.


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       82.   Defendant’s representations affirmed and promised that the Product functioned as a

cough suppressant and oral anesthetic due to the presence of herbal ingredients.

       83.   Defendant described the Product so Plaintiff and consumers believed it functioned

as a cough suppressant and oral anesthetic due to the presence of herbal ingredients, which became

part of the basis of the bargain that it would conform to its affirmations and promises.

       84.   Defendant had a duty to disclose and/or provide non-deceptive descriptions and

marketing of the Product.

       85.   This duty is based on Defendant’s outsized role in the market for this type of Product,

the preeminent company in the area of herbal lozenges.

       86.   Plaintiff recently became aware of Defendant’s breach of the Product’s warranties.

       87.   Plaintiff provided or will provide notice to Defendant, its agents, representatives,

retailers, and their employees.

       88.   Plaintiff hereby provides notice to Defendant that it breached the express and implied

warranties associated with the Product.

       89.   Defendant received notice and should have been aware of these issues due to

complaints by third-parties, including regulators, competitors, and consumers, to its main offices,

and by consumers through online forums.

       90.   The Product did not conform to its affirmations of fact and promises due to

Defendant’s actions.

       91.   The Product was not merchantable because it was not fit to pass in the trade as

advertised, not fit for the ordinary purpose for which it was intended and did not conform to the

promises or affirmations of fact made on the packaging, container or label, because it was marketed

as if it functioned as a cough suppressant and oral anesthetic due to the presence of herbal




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ingredients.

       92.     The Product was not merchantable because Defendant had reason to know the

particular purpose for which the Product was bought by Plaintiff, because she expected it

functioned as a cough suppressant and oral anesthetic due to the presence of herbal ingredients,

and she relied on Defendant’s skill and judgment to select or furnish such a suitable product.

       93.     Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                                       Negligent Misrepresentation

       94.     Defendant had a duty to truthfully represent the Product, which it breached.

       95.     This duty was non-delegable, and based on Defendant’s position, holding itself out

as having special knowledge and experience in this area, the preeminent company in the area of

herbal lozenges.

       96.     Defendant’s representations and omissions regarding the Product went beyond the

specific representations on the packaging, as they incorporated the extra-labeling promises and

commitments to quality, transparency and putting customers first, that it has been known for.

       97.     These promises were outside of the standard representations that other companies

may make in a standard arms-length, retail context.

       98.     The representations took advantage of consumers’ cognitive shortcuts made at the

point-of-sale and their trust in Defendant.

       99.     Plaintiff and class members reasonably and justifiably relied on these negligent

misrepresentations and omissions, which served to induce and did induce, their purchase of the

Product.

       100. Plaintiff and class members would not have purchased the Product or paid as much




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if the true facts had been known, suffering damages.

                                                Fraud

       101. Defendant misrepresented and/or omitted the attributes and qualities of the Product,

that it functioned as a cough suppressant and oral anesthetic due to the presence of herbal

ingredients.

       102. Moreover, the records Defendant is required to maintain, and/or the information

inconspicuously disclosed to consumers, provided it with actual and constructive knowledge of

the falsity and deception, through statements and omissions.

       103. Defendant knew of the issues described here yet did not address them.

       104. Defendant’s fraudulent intent is evinced by its knowledge that the Product was not

consistent with its representations.

                                         Unjust Enrichment

       105. Defendant obtained benefits and monies because the Product was not as represented

and expected, to the detriment and impoverishment of Plaintiff and class members, who seek

restitution and disgorgement of inequitably obtained profits.

                                 Jury Demand and Prayer for Relief

Plaintiff demands a jury trial on all issues.

    WHEREFORE, Plaintiff prays for judgment:

   1. Declaring this a proper class action, certifying Plaintiff as representative and the

       undersigned as counsel for the class;

   2. Entering preliminary and permanent injunctive relief by directing Defendant to correct the

       challenged practices to comply with the law;

   3. Injunctive relief to remove, correct and/or refrain from the challenged practices and

       representations, and restitution and disgorgement for members of the class pursuant to the


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      applicable laws;

   4. Awarding monetary damages, statutory and/or punitive damages pursuant to any statutory

      claims and interest pursuant to the common law and other statutory claims;

   5. Awarding costs and expenses, including reasonable fees for Plaintiff's attorneys and

      experts; and

   6. Other and further relief as the Court deems just and proper.

Dated: May 8, 2022
                                                      Respectfully submitted,

                                                      /s/Spencer Sheehan
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